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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF GEORGIA,
                                 SAVANNAH DIVISION

 JOAN ULINO,                                      )
                                                  )
        Plaintiff,                                )         CIVIL ACTION FILE
                                                  )         NO. 4:23-CV-00030-WTM-CLR
 v.                                               )
                                                  )
 HHC TRS SAVANNAH LLC d/b/a Hyatt                 )
 Regency Savannah and JOHN DOES 1-3               )         JURY TRIAL DEMANDED
                                                  )
        Defendants.                               )
                                                  )

                   DEFENDANT HHC TRS SAVANNAH, LLC’S
               ANSWER AND DEFENSES TO PLAINTIFF’S COMPLAINT

       Defendant HHC TRS Savannah LLC d/b/a Hyatt Regency Savannah (“HHC TRS”) hereby

files its Answer and Defenses to Plaintiff’s Complaint, showing the Court as follows:

                                       FIRST DEFENSE

       HHC TRS answers the numbered paragraphs in Plaintiff’s Complaint as follows:

                                            PARTIES

                                                1.

       HHC TRS is without knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 1 and, therefore, denies the same.

                                                2.

       On information and belief, HHC TRS admits that HH Savannah, LLC is a Delaware

company with its principal place of business in Texas; it is authorized to transact business in

Georgia. Further, upon information and belief, it is the fee simple owner of the Hyatt Regency

Savannah located at 2 West Bay Street (the “Hotel”). It may be served with process in accordance

with applicable law.
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                                                3.

       HHC TRS admits that it is a Delaware company with its principal place of business in

Texas; it is authorized to transact business in Georgia. HHC TRS admits it operated the Hotel. It

may be served with process in accordance with applicable law.

                                                4.

       On information and belief, HHC TRS admits that Hyatt Corporation is a Delaware

company with its principal place of business in Illinois; it is authorized to transact business in

Georgia. Upon information and belief, it managed the Hotel. It may be served with process in

accordance with applicable law.

                                                5.

       HHC TRS is without knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 5 and, therefore, denies the same.

                                                6.

       HHC TRS is without knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 6 and, therefore, denies the same.

                                                7.

       Admitted.

                                        BACKGROUND

                                                8.

       HHC TRS is without knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 8 and, therefore, denies the same.

                                                9.

       Denied.



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                                                10.

        HHC TRS is without knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 10 and, therefore, denies the same.

                                                11.

        Denied

                                                12.

        Denied.

                                           COUNT I
                                         NEGLIGENCE

                                                13.

        HHC TRS hereby incorporates its answers to Paragraphs 1 through 12 as if the same were

fully restated herein.

                                                14.

        HHC TRS admits that certain duties arise, or may arise, by operation of law, but HHC TRS

denies that it breached any such duties and denies that it was negligent.

                                                15.

        Denied.

                                                16.

        Denied.

                                                17.

        Denied.




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                                            COUNT II
                                            DAMAGES

                                                 18.

        HHC TRS hereby incorporates its answers to Paragraphs 1 through 17 as if the same were

fully restated herein.

                                                 19.

        Denied.

                                                 20.

        HHC TRS denies the allegations in Paragraph 20, including subparts (a) through (j).

Further, HHC TRS denies all allegations in Plaintiff’s unnumbered “WHEREFORE” Paragraph

including subparts (a) through (f).

                                       SECOND DEFENSE

        Plaintiff’s Complaint fails to state a claim upon which relief may be granted.

                                        THIRD DEFENSE

        HHC TRS did not breach any duty owed to Plaintiff. HHC TRS is not liable or responsible

to Plaintiff for negligence and/or violation of any code, statute, or section of law.

                                       FOURTH DEFENSE

        Any allegations, claims, contentions, demands, and/or prayers for relief not expressly

admitted by HHC TRS are hereby denied, including any “WHEREFORE” clauses.

                                        FIFTH DEFENSE

        The accident was caused in whole or in part by the negligence or other act or omission of

Plaintiff and/or others over whom HHC TRS exercised no control and for whose actions HHC

TRS is not responsible. Therefore, Plaintiff cannot recover from HHC TRS.




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                                        SIXTH DEFENSE

       Plaintiff’s injuries and damages were caused by an intervening, superseding action for

which HHC TRS is not liable or responsible.

                                      SEVENTH DEFENSE

       Plaintiff’s Complaint is barred, in whole or part, by the doctrines of assumption of the risk,

contributory negligence, and/or comparative negligence.

                                      EIGHTH DEFENSE

       Plaintiff failed to mitigate her injuries and damages.

                                       NINTH DEFENSE

        HHC TRS reserves the right to amend its Answer and Defenses to plead, inter alia,

additional affirmative defenses as they become known during discovery.

                                        JURY DEMAND

       HHC TRS demands a trial by a jury of 12 persons on all issues so triable.

                                      GENERAL DENIAL

       Responding to each and every claim in Plaintiff’s Complaint, HHC TRS denies that it is

liable to Plaintiff in any way, either in law or equity. To the extent any paragraph, sentence, sub-

paragraph, statement, or allegation in Plaintiff’s Complaint is neither expressly admitted nor

denied by the foregoing responsive answers and defenses, the same is hereby specifically denied.

Furthermore, HHC TRS specifically denies that Plaintiff is entitled to any relief.

       WHEREFORE, having fully answered Plaintiff’s Complaint, HHC TRS requests that the

Court enter judgment in favor of HHC TRS, award it fees and costs, and grant such other and

further relief as may be just and proper.




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Respectfully submitted this 13th day of February, 2023.

                                         WEINBERG WHEELER HUDGINS GUNN &
                                         DIAL, LLC

                                         /s/ Jason T. Vuchinich
                                         Jason T. Vuchinich
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                                         Attorneys for HHC TRS Savannah, LLC




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing document was served upon all parties

via ECF/CF, as follows:

                                      Bradley S. Robinson
                                   FARAH & FARAH, P.A.
                                    12016 Abercorn Street
                                       Savannah, Georgia
                                brobinson@farahandfarah.com
                                j.williams@farahandfarah.com

                                     Counsel for Plaintiffs

       This 13th day of February, 2023.


                                                /s/ Jason T. Vuchinich
                                                Jason T. Vuchinich




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